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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           OCALA DIVISION

CHERYL WEIMAR,

      Plaintiffs,

v.                                            CASE NO.: 5:19-cv-548-CEM-PRL

THE FLORIDA DEPARTMENT OF
CORRECTIONS, KEITH TURNER,
and RYAN DIONNE,

     Defendants.
________________________________/

PLAINTIFFS’ MOTION TO PERMIT PLAINTIFF’S REPRESENTATIVES
             TO INTERVIEW INMATE WITNESSES

      COMES NOW, Plaintiff, Cheryl Weimar, by and through the undersigned

counsel, hereby files this Motion for a Court Order Permitting Plaintiff’s

Representatives to Interview Inmate Witnesses, stating as follows:

      1.     Plaintiff filed her Complaint in this matter alleging violations of the

Americans with Disabilities Act and Rehabilitation Act, as well as Eighth

Amendment violations, stemming from the brutal beating suffered by Plaintiff at the

hands of two correctional officers, Defendants Turner and Dionne, employed by

Defendant Florida Department of Corrections (“FDC”). [See Dkt. Nos. 1, 35.]

      2.     Plaintiff’s attack occurred within Lowell Correctional Institution, a

female prison in Ocala, Florida. According to investigation by the undersigned, there
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were several, if not dozens, of inmates who were eyewitnesses to the brutal and

unlawful beating of Plaintiff.

      3.     Historically, FDC has always permitted undersigned counsel to

interview non-client inmate witnesses in connection with pending federal litigation.

That is, undersigned counsel or its representatives simply had to request from FDC

a legal visit with the eyewitness inmate, and FDC would approve visitation to

facilitate an interview within approximately one week. See, e.g., Composite

Examples of Requests and Approvals for Interviews of Eyewitness Inmates, as

Submitted to and Received from FDC, attached hereto as Exhibit A.

      4.     Following the attack on Plaintiff, and her filing of an initial complaint

in connection therewith, the undersigned requested from FDC interviews with

certain inmates who, upon information and belief, were eyewitnesses to the attack

and thus had information that was discoverable, admissible, and likely to lead to

discovery of admissible evidence. Specifically, Plaintiff initiated requests to

interview the first wave of inmate witnesses by sending formal request letters to

counsel for Defendant FDC, which notably identified several, certain inmate

witnesses by name. See Composite Letters sent September 11, 2019 and September

13, 2019 from Steven R. Andrews to Defendant FDC’s counsel of record, attached

hereto as Exhibit B.




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      5.     By way of response, and for the very first time in undersigned’s

experience in litigating and dealing with FDC, FDC took the position that Plaintiff’s

counsel and her representatives were not permitted to interview inmate witnesses,

and that FDC had no obligation to make inmate witnesses available to Plaintiff’s

counsel, including those Plaintiff had explicitly identified and requested by name

due to their known possession of discoverable evidence that is relevant and pertinent

to the issues in this case. See Letters from Defendant FDC’s counsel of record,

Thomas M. Gonzalez, to Plaintiff’s counsel on September 13, 2019 and September

16, 2019, attached hereto as Exhibit C.

      6.     Next, in the course of discussions among counsel regarding the Joint

Report, FDC would not consent to allowing more than 10 total depositions to be

taken by Plaintiff altogether in this action. Counsel for FDC stated that they did not

perceive a need to conduct or allow more depositions, and thus insisted 10 was and

would have to be sufficient. This objections was asserted by FDC despite the fact

Defendant FDC’s Rule 26(a)(1) disclosures listed twenty-two (22) witnesses in

possession of discoverable information. See Rule 26 Initial Disclosures of Defendant

FDC, dated November 13, 2019, attached hereto as Exhibit D.

      7.     Curiously, however, FDC did not list any inmate witnesses as an

individual who possesses or may possess relevant or discoverable information—not

even those Plaintiff had explicitly identified and requested by name in seeking to


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conduct interviews. Indeed, those inmate witnesses, and an unknown universe of

others, have been excluded and withheld from Plaintiff by FDC, both through FDC’s

prevention of access to such witnesses for interview, as well as FDC’s nondisclosure

of identities of any others inmate witnesses known by FDC to possess discoverable

information relating to the attack, the events preceding, following and/or

surrounding the attack, and/or other circumstances relevant to this action. While

such an omission may be an accident or mistaken oversight, Plaintiff has obtained

the names of over 24 inmates who have or may have discoverable information. See

Plaintiff’s Initial Rule 26(a)(1) Initial Disclosures, dated and served on November

13, 2019, attached hereto as Exhibit E.

        8.     In sum, despite listing twenty-two (22) witnesses, FDC objects to

Plaintiff taking more than ten (10) depositions, and now objects further to Plaintiff

interviewing or having any access to inmate witnesses to determine and learn their

knowledge of discoverable or relevant information. Lacking any legal support or

authority1 for its withholding and prevention of access to evidence, FDC claims to

be following an interpretation of FDC Policies and Rules, despite having never done

so before with respect to undersigned counsel. See Fla. Admin. Code R. 33-601.711.

Attached as Exhibit F. Irrespective of the language of the Rule, FDC has never

prevented undersigned counsel from interviewing inmate witnesses who are not


1
    Other than its new interpretation of FDC Administrative Rules.

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clients of the undersigned, particularly when the parties and/or counsel are fully

aware that certain inmate witnesses are in possession of discoverable information.

In other words, FDC has never previously interpreted this rule in the arbitrary

manner in which it has now chosen to apply it. Indeed, interviewing witnesses is a

basic tenet and requirement of participation in litigation.

      9.     FDC’s omission of even one inmate eyewitness, let alone dozens, from

its initial disclosures, is significant—indeed, it is unlikely that FDC could not

identify even one inmate who may have discoverable information, particularly given

that Plaintiff’s interview requests placed FDC on notice of several of the inmate

witnesses that FDC nevertheless excluded from its disclosures.

      10.    FDC’s conduct is obstructive and designed to prejudice the Plaintiff,

denying her Due Process rights under the Fifth and Fourteenth Amendment of the

U.S. Constitution. This deprivation is amplified by the fact that FDC and its counsel

have sole and exclusive access to and knowledge of all inmate witnesses, while

undersigned counsel has no such access to determine what these witnesses know,

what they saw, or who else witnessed the attack. Plaintiff will require and is entitled

to access inmate witnesses, including to identify their possession of knowledge, as

well as interview and receive their statements, in order to help prove her case.

      11.    Access and opportunity to interview witnesses is crucial in the context

of inmate witnesses, as inmates are unavailable for purposes of compelling


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attendance at trial. Thus, the taking of inmate witness depositions is necessary in

order to present their testimony and evidence at trial, by way of reading deposition

testimony to the jury. Certainly, a Writ Ad Testificandum can be entered, though

undersigned is cognizant that such extraordinary relief is cautiously and seldom

granted, particular for inmates whose testimony can—if not obstructed by FDC—be

readily procured via deposition, and then subsequently presented to the jury.

      12.    Plaintiff anticipates also requesting an additional twenty depositions in

this case.2 Plaintiff has had medical providers at several DOC institutions and has

been at two different hospitals since she was attacked. It is likely that the medical



2
 This figure represents Plaintiff’s best and most educated guess, in good faith, based
on the information presently available. Promptly after Plaintiff suffered her injuries,
in August 2019, the undersigned began requesting records pertaining to Ms. Weimar
and her medical care, treatment, injuries, and conditions. These requests continued
to be made throughout September 2019, and the many requests that remained
outstanding and unfulfilled were vigilantly pursued.

       The documents requested as to Plaintiff included, inter alia, documents in the
possession of Defendant FDC, as well as documents possessed by any of Ms.
Weimar’s medical providers and facilities, including Ocala Regional Medical
Center, Memorial Hospital of Jacksonville, Lowell Correctional Institute, and
Women’s Reception and Medical Center. Despite the best efforts and reasonable
diligence of undersigned, much of the crucial medical records and related documents
were delayed for weeks, and even months. For example, it was not until November
25, 2019 that undersigned finally received Plaintiff’s thousands of pages of medical
records from FDC, after a delay of nearly three full months by FDC. As a result of
FDC’s profound delays, Plaintiff’s medical expert and legal counsel, including the
undersigned, have been unable to fully and completely review and assess Plaintiff’s
medical care, treatment, and status. Such review is still currently happening in real
time due to FDC’s delayed production of Plaintiff’s medical records.

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providers alone will exceed the ten (10) depositions to which Plaintiff is currently

entitled. While Plaintiff will certainly need more than ten (10) depositions,

interviewing inmate witnesses will reduce the potential number of depositions

Plaintiff will need, weeding out inmates who do not have discoverable information,

and ensuring that those inmates who do have discoverable information will be set

for deposition.

      13.    The object of the endeavor is to prepare the case for a fair trial.

Preparing the case for a fair trial requires that Plaintiff’s counsel and representatives

be permitted to interview inmate witnesses who may have witnessed the brutal attack

suffered by Plaintiff. As Judge Hinkle further noted in Cimillo v. Austin, supra,

“availability of a prisoner for an interview may require the cooperation of FDC;

indeed, without FDC’s cooperation, an attorney may be unable to meet with a

prisoner or talk with the prisoner on an unmonitored telephone.” Here, FDC has been

obstructive, flatly denying access to any and all inmate witnesses that have not

retained the undersigned as their legal counsel or those that have not requested legal

representation by undersigned counsel.

      14.    Like in Cimillo v. Austin, infra, dozens of witnesses, including

eyewitnesses, were identified by the parties, and thus the initial scheduling order

permitted the parties to take as many as thirty-five (35) depositions. It is likely that

the same number of depositions will be required in this case as well, in substantial


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part due to the potential number of inmate eyewitnesses who are incarcerated and

unavailable for purposes of testimony at trial, or who undersigned may not even be

aware due to FDC’s non-disclosure. However, determining a precise number of

depositions that may be needed in this case will be significantly aided by the ability

to interview inmate witnesses and confirm whether and to what extent they have

discoverable and relevant information warranting deposition, or else rule them out

as witnesses and deponents. FDC’s actions in preventing undersigned counsel from

interviewing inmate witnesses, and FDC’s continued impairment of undersigned’s

ability to learn of and access knowledgeable inmate witnesses, would require

Plaintiff to conduct dozens of inmate depositions, simply to determine whether they

possess the information they are reported to have. Indeed, it may turn out that half

of the inmates witnesses do not have relevant information or were not eyewitnesses

to the entire event, rendering depositions thereof potentially unnecessary and

duplicative.

      15.      Permitting interviews of inmate witnesses does not prejudice FDC, nor

does it create a risk at the prison facilities. First, attorneys interview inmates every

weekday at FDC facilities. Undersigned counsel and its representative, investigator

Monica Jordan, have been permitted access into every FDC prison—i.e., passed the

requisite backgrounds—for which they have requested entry. Thus, continuing to

allow access of undersigned and its representative presents no security risk, either.


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      16.    Moreover, permitting inmate witness interviews would obviously

conserve the resources of the parties, including by enabling a more precise

determination and limitation of the number of depositions required. And permitting

inmate witness interviews is also in the best interests of fundamental fairness,

judicial economy, and conservation of resources, including by limiting depositions

only to witnesses with relevant information and/or may be necessary witnesses.

                           MEMORANDUM OF LAW

      United States District Court Judge Robert L. Hinkle, of the Northern District

of Florida, recently acknowledged the Court’s awareness of issues caused by FDC’s

prevention of access to inmate witnesses in another care. As a result, Judge Hinkle

entered an order in Cimillo v. Austin, et al., 4:16-cv-584-RH/CAS, at ECF Doc. No.

162 (N.D. Fla. 2018), suggesting that FDC’s cooperation may be necessary to ensure

that plaintiff’s counsel would have access to interview inmates to determine if they

have discoverable information. See Exhibit G, attached hereto. And as similarly

explained by a California federal court presented with this same issue, where an

“attorney complained to the trial court that he and his investigator were having

difficulty arranging interviews with inmates . . . due to prison regulations, ‘the court

offered to issue appropriate orders to accommodate counsel.’” See Throop v. Diaz,

No. 12-cv-1870, 2014 U.S. Dist. LEXIS 68076, at *64-65 (S.D. Cal. Feb. 21, 2014).




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       Here, Due Process and the fair administration of justice requires Plaintiff to

 be able to conduct these witness interviews of incarcerated inmates. In cases

 involving inmates, oftentimes it is a tale of two stories, with inmates having to look

 to other inmates to help make their case, especially in a case like the present where

 Ms. Weimar recalls a few events prior to the attack, and then remembers next waking

 up in a hospital without the ability to move her arms, legs, or head.

       Courts have addressed the need for counsel to interview incarcerated inmates

 before, and good cause warrants undersigned counsel to interview incarcerated

 inmates who are believed to have knowledge in the present matter.

       WHEREFORE, Plaintiff, Cheryl Weimar, respectfully requests that the

 Court enter an Order GRANTING this Motion, and accordingly direct: (1) FDC to

 allow access and an opportunity for Plaintiff’s undersigned legal counsel and its

 representatives to interview inmate witnesses upon request and reasonable notice in

 accordance with Fla. Admin. Code R. 33-601.711, even though Plaintiff’s counsel

 and its representatives may not have an attorney client relationship with the

 incarcerated inmates; (2) that such interviews be unmonitored by FDC, and (3) such

 other relief as the Court deems just and proper.

       Submitted this 5th day of December, 2019.


                                        ANDREWS LAW FIRM
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                                       Counsel for Plaintiff

                     LOCAL RULE 3.01(g) CERTIFICATE

       Pursuant to Rule 3.01(g) of the Local Rules of the Middle District of Florida,

 the undersigned has conferred with counsel for Defendant Florida Department of

 Corrections in writing and by telephone regarding this Motion to Permit Plaintiff’s

 Representatives to Interview Inmate Witnesses, and reports that Defendant Florida

 Department of Corrections objects to the relief requested herein.



                                       /s/ Steven R. Andrews
                                       STEVEN R. ANDREWS




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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been

 served by electronic service on this 5th day of December, 2019, to:

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